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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

                                            6:21-cv-01177
                         Civil Action No.________________________

JUSTIN G. PACHECO, individually, and on behalf
of all others similarly situated,

       Plaintiff,

v.

CRUNCH FITNESS,

      Defendant,
_____________________________________/

                               CLASS ACTION COMPLAINT

       NOW COMES JUSTIN G. PACHECO, individually, and on behalf of all others similarly

situated, through his undersigned counsel, complaining of Defendant, CRUNCH FITNESS, as

follows:

                                 NATURE OF THE ACTION

       1.      This is an action seeking redress for violations of the Telephone Consumer

Protection Act (“TCPA”), 47 U.S.C. § 227 et seq. and the Florida Consumer Collection Practices

Act (“FCCPA”), Fla. Stat. §559.55 et. seq.

       2.      “The primary purpose of the TCPA was to protect individuals from the harassment,

invasion of privacy, inconvenience, nuisance, and other harms associated with unsolicited,

automated calls.” Parchman v. SLM Corp., 896 F.3d 728, 738-39 (6th Cir. 2018) citing Telephone

Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2, 105 Stat. 2394 (1991).

                               JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

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           4.        This Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367.

           5.        Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                                         PARTIES

           5.        JUSTIN G. PACHECO (“Plaintiff”) is a natural person, over 18-years-of-age, who

at all times relevant resided in Orlando, Florida.

           6.        Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).

           7.        Plaintiff is a “consumer” as defined by Fla. Stat. §559.55(8).

           8.        CRUNCH FITNESS (“Defendant”) is a company with its headquarters in New

York City, New York.

           9.        Defendant operates fitness clubs and its stated mission is to “embrace a No

Judgments philosophy” regarding its club members.1

           10.       Defendant operates multiple gyms in Florida and markets its gym memberships to

consumers in Florida.

           11.       Defendant is a “person” as defined by 47 U.S.C. § 153(39).

           12.       Defendant is a “debt collector” as defined by Fla. Stat. § 559.55(7).

                                            FACTUAL ALLEGATIONS

           13.       At all times relevant, Plaintiff was the sole operator, possessor, and subscriber of

the cellular telephone number ending in 1683.

           14.       At all times relevant, Plaintiff’s number ending in 1683 was assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).




1
    https://www.crunch.com/about (Last accessed July 6, 2021)

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        15.     At all times relevant, Plaintiff was financially responsible for his cellular telephone

equipment and services.

        16.     In late 2019, Plaintiff signed up for a gym membership with Defendant.

        17.     Plaintiff eventually decided that he no longer needed his gym membership and

cancelled shortly after joining.

        18.     At the time Plaintiff cancelled, he completed all necessary steps and paper work.

        19.     In or around the beginning of 2020, Defendant started placing harassing collection

calls to Plaintiff’s cellular phone.

        20.     During each call that Plaintiff answered, he was met with a lengthy pause and was

required to say “hello” numerous times prior to being greeted by a live representative.

        21.     Once connected to a live representative, Plaintiff was informed that he needed to

fix his account and go into a gym location to sign some paperwork.

        22.     Plaintiff explained that there was nothing wrong with his account and requested

Defendant stop contacting him.

        23.     Unfortunately, Defendant continued throughout the year.

        24.     In or around January 2021, Plaintiff again requested that the calls cease on at least

3 separate occasions.

        25.     Despite Plaintiff’s unambiguous requests that Defendant cease contacting him and

explaining that he does not need to complete any paper work, Defendant continued placing

unwanted and unconsented to phone calls to Plaintiff’s cellular phone.

        26.     In total, Defendant has placed no less than 60 unwanted and unconsented to

collection calls to Plaintiff’s cellular phone after Plaintiff requested that the Defendant cease

contact with him.

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                                            DAMAGES

       27.     Plaintiff significantly values his privacy and solitude.

       28.     In light of the fact that Plaintiff ended his business relationship with Defendant by

cancelling his gym membership, Defendant’s phone calls were highly intrusive and were a

nuisance.

       29.     Moreover, Defendant’s phone calls were especially troubling considering they

continued after Plaintiff requested that Defendant cease contact with him.

       30.     Defendant’s phone calls invaded Plaintiff’s privacy and have caused Plaintiff actual

harm, including but not limited to, aggravation that accompanies unsolicited phone calls, increased

risk of personal injury resulting from the distraction caused by the phone calls, wear and tear to

Plaintiff’s cellular phone, temporary loss of use of Plaintiff’s cellular phone while Plaintiff’s

cellular phone was ringing, loss of battery charge, loss of concentration, nuisance, the per-kilowatt

electricity costs required to recharge Plaintiff’s cellular telephone as a result of increased usage of

Plaintiff’s telephone services, and wasting Plaintiff’s time.

                                     CLASS ALLEGATIONS

       31.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       32.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3)

individually, and on behalf of all others similarly situated (“Putative Class”) defined as follows:

                                            TCPA Class

       All persons residing in the state of Florida: (a) to whom Defendant or a third party
       acting on Defendant’s behalf placed phone calls to his/her cellular phone; (b) in
       connection with an alleged delinquent account; (c) after he/she requested that the
       phone calls cease; (d) using an automatic telephone dialing system; (e) at any time


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       in the period that begins four years before the date of the filing of the original
       complaint through the date of class certification.

       33.        The following individuals are excluded from the Putative Class: (1) any Judge or

Magistrate Judge presiding over this action and members of their families; (2) Defendant,

Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which Defendant or

their parents have a controlling interest and their current or former employees, officers and

directors; (3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for

exclusion from the Putative Class; (5) the legal representatives, successors or assigns of any such

excluded persons; and (6) persons whose claims against Defendant have been fully and finally

adjudicated and/or released.

A.     Numerosity

       34.        Upon information and belief, the members of the Putative Class are so numerous

that joinder of them is impracticable.

       35.        The exact number of the members of the Putative Class is unknown to Plaintiff at

this time, and can only be determined through targeted discovery.

       36.        The members of the Putative Class are ascertainable because the Class is defined

by reference to objective criteria.

       37.        The members of the Putative Class are identifiable in that their names, addresses,

and telephone numbers can be identified in business records maintained by Defendant.

B.     Commonality and Predominance

       38.        There are many questions of law and fact common to the claims of Plaintiff and the

Putative Class.




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         39.   Those questions predominate over any questions that may affect individual

members of the Putative Class.

C.       Typicality

         40.   Plaintiff’s claims are typical of members of the Putative Class because Plaintiff and

members of the Putative Class are entitled to damages as a result of Defendant’s conduct.

D.       Superiority and Manageability

         41.   This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.

         42.   The damages suffered by the individual members of the Putative Class will likely

be relatively small, especially given the burden and expense required for individual prosecution.

         43.   By contrast, a class action provides the benefits of single adjudication, economies

of scale, and comprehensive supervision by a single court.

         44.   Economies of effort, expense, and time will be fostered and uniformity of decisions

ensured.

E.       Adequate Representation

         45.   Plaintiff will adequately and fairly represent and protect the interests of the Putative

Class.

         46.   Plaintiff has no interests antagonistic to those of the Putative Class and Defendant

has no defenses unique to Plaintiff.

         47.   Plaintiff has retained competent and experienced counsel in consumer class action

litigation.

                                 CLAIMS FOR RELIEF
                                       COUNT I:
                 Telephone Consumer Protection Act (47 U.S.C. § 227 et. seq.)

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                   (On behalf of Plaintiff and the Members of the TCPA Class)

       48.        Paragraphs 13-47 of this Complaint are expressly adopted and incorporated herein

as though fully set forth herein.

       49.        The TCPA prohibits phone calls to a cellular phone using an automatic telephone

system (“ATDS”) without the consent of the recipient. 47 U.S.C. §227(b)(1)(A).

       50.        The TCPA defines ATDS as “equipment which has the capacity—(A) to store or

produce telephone numbers to be called, using a random or sequential number generator; and (B)

to dial such numbers.” 47 U.S.C. § 227(a)(1).

       51.        Upon information and belief, the system used by Defendant to place calls to

Plaintiff has the capacity to use a random or sequential number generator to determine the order

in which to pick phone numbers from a preloaded list of numbers of consumers that are allegedly

in default on their payments.

       52.        Accordingly, the system employed by Defendant has the capacity – (A) to store or

produce telephone numbers to be called, using a random or sequential number generator; and (B)

to dial such numbers.

       53.        Defendant violated the 47 U.S.C. § 227(b)(1)(A)(iii) by placing non-emergency

calls, including but not limited to the aforementioned collection calls to Plaintiff’s cellular

telephone, utilizing an ATDS, without Plaintiff’s consent.

       54.        As pled above, Plaintiff revoked consent to be called on his cellular phone on

multiple occasions during answered calls.

       55.        As pled above, Plaintiff was severely harmed by Defendant’s collection calls to his

cellular phone.



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       56.     Upon information and belief, Defendant has no system in place to document

whether it has consent to contact consumers on their cellular phones.

       57.     Upon information and belief, Defendant has no policies and procedures in place to

honor consumers’ requests that collection calls cease.

       58.     Upon information and belief, Defendant knew its collection practices violated the

TCPA yet continued to employ them in order to maximize efficiency and revenue.

       59.     As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii), Plaintiff and

the members of the Putative Class are entitled to receive $500.00 in damages for each such

violation.

       60.     As a result of Defendant’s knowing and willful violations of 47 U.S.C. §

227(b)(1)(A)(iii), Plaintiff and the members of the Putative Class are entitled to receive up to

$1,500.00 in treble damages for each such violation.

       WHEREFORE, Plaintiff, on behalf of himself and the members of the Putative Class,

requests the following relief:

       A.      an order granting certification of the Putative Class, including the designation of

               Plaintiff as the named representative, and the appointment of the undersigned as

               Class Counsel;

       B.      an order finding that Defendant violated 47 U.S.C. § 227 (b)(1)(A)(iii);

       C.      an order enjoining Defendant from placing further violating phone calls;

       D.      an award of $500.00 in damages to Plaintiff and the members of the Putative Class

               for each such violation;

       E.      an award of treble damages up to $1,500.00 to Plaintiff and the members of the

               Putative Class for each such violation; and

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       F.       an award of such other relief as this Court deems just and proper.

                                        COUNT II:
             Florida Consumer Collection Practices Act (Fla. Stat. § 559.55 et. seq.)
                                  (On behalf of Plaintiff)

       61.      Paragraphs 13-47 of this Complaint are expressly adopted and incorporated herein

as though fully set forth herein.

       62. Subsection 559.72(7) of the CCPA provides:

       In collecting consumer debts, no person shall:

                (7)     Willfully communicate with the debtor or any member of her or his
                        family with such frequency as can reasonably be expected to harass
                        the debtor or her or his family, or willfully engage in other conduct
                        which can reasonably be expected to abuse or harass the debtor or
                        any member of her or his family.

                Fla. Stat. § 559.72(7).

       63.      Defendant violated Fla. Stat. § 559.72(7) by continuously calling Plaintiff after

being asked to stop. See Waite v. Fin. Recovery Servs., Inc., 2010 U.S. Dist. LEXIS 133438, 2010

WL 5209350, at *3 (M.D. Fla. Dec. 16, 2010). (misconduct includes calling the plaintiff after

being asked to stop).

       64.      Plaintiff may enforce the provisions of Fla. Stat. § 559.72(7) pursuant to Fla. Stat.

§ 559.77(2) which provides:

       Any person who fails to comply with any provision of s. 559.72 is liable for actual
       damages and for additional statutory damages as the court may allow, but not
       exceeding $1,000, together with court costs and reasonable attorney’s fees incurred
       by the plaintiff.


       WHEREFORE, Plaintiff, JUSTIN G. PACHECO, requests the following relief:

       a.       a finding that Defendant violated Fla. Stat. §§ 559.72(7);



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       b.     an award of actual damages sustained by Plaintiff as a result of Defendant’s

              violation(s);

       c.     an award of additional statutory damages, as the Court may allow, but not

              exceeding $1,000.00;

       d.     an award of court costs and reasonable attorney’s fees incurred by Plaintiff; and

       e.     an award of such other relief as this Court deems just and proper.




                                DEMAND FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.



Date: July 20, 2021                                          Respectfully submitted,

                                                             JUSTIN G. PACHECO

                                                             By:/s/ Alejandro E. Figueroa
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